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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                  No. 20 CR 299
                v.
                                                  Judge Robert M. Dow, Jr.
 HARDY LEE BROWNER

                 AGREED MOTION TO DESIGNATE A
            CLASSIFIED INFORMATION SECURITY OFFICER

       The United States of America, through its attorney, JOHN R. LAUSCH,

Jr., United States Attorney for the Northern District of Illinois, and Molly

Armour, counsel for defendant, respectfully request that the Court designate

a Classified Information Security Officer (“CISO”), 1 pursuant to the Classified

Information Procedures Act, 18 U.S.C. App. III (“CIPA”) and Section 2 of the

Security Procedures established under Pub. L. 96-456, 94 Stat. 2025 by the

Chief Justice of the United States and promulgated pursuant to Section 9 of

CIPA. In support of its motion, the parties state the following:

       1.     This a criminal matter in which the grand jury has returned an

indictment charging the defendant with knowingly and willfully make a

materially false, fictitious, and fraudulent statement and representation to the




       1        In the original Security Procedures, the title of the position was Court Security
Officer. In the revised security procedures promulgated by Chief Justice Roberts, the position
is now known as Classified Information Security Officer.
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FBI in a matter involving international terrorism, in violation of 18 U.S.C. §

1001(a)(2).

      2.      This case involves classified material, will require the production

of classified discovery to cleared defense counsel and will likely require filings

pursuant to CIPA.

      3.      To assist the Court and court personnel in handling of any motions

pursuant to CIPA and implementing any orders relating to the matter, and to

assist defense counsel in obtaining their clearances, the parties requests that

the Court designate Daniel O. Hartenstine as the CISO for this case, to perform

the duties and responsibilities prescribed for CISO’s in the Security Procedures

promulgated by the Chief Justice.




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     4.     The parties further requests that the Court designate the following

persons as Alternate CISO, to serve in the event Mr. Hartenstine is

unavailable: Matthew W. Mullery, Maura L. Peterson, Carli V. Rodriguez-Feo,

Harry J. Rucker, and W. Scooter Slade.



                                     Respectfully submitted,


                                     JOHN R. LAUSCH, Jr.
                                     United States Attorney

                               By:   /s/ Barry Jonas
                                     BARRY JONAS
                                     JORDAN MATTHEWS
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Dated: July 13, 2020




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